                                 OPINION
On July 12, 1989, following a jury trial, appellant, Douglas E. Gaster, was found guilty of two counts of rape, in violation of R.C. 2907.02(A)(1)(b), and one count of kidnapping, in violation of R.C. 2905.01(A)(4). The Lake County Court of Common Pleas subsequently sentenced appellant to serve a life term of incarceration for the rape counts and an indefinite term of incarceration of eight to twenty-five years on the kidnapping count, the sentences were to run concurrently. In a judgment entry filed October 6, 1997, the trial court adjudicated appellant to be a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
Appellant timely appealed, asserting that Ohio's version of Megan's Law is unconstitutional. Pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, R.C. Chapter 2950 as applied to sexual "predators" is unconstitutional and void in its entirety; therefore, the judgment of the trial court is reversed and remanded for proceedings consistent with this opinion. _______________________ JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.